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DANIEL RODRIGUEZ, ESQ., SBN 096625
JOEL T. ANDREESEN, ESQ., SBN 152254

RODRIGUEZ & ASSOCIATES

2020 EYE STREET, BAKERSFIELD, CA 93301
TELEPHONE (661) 323-1400 FAX (661) 323-0132

Attorneys for Plaintiffs Tara Garlick;
MLS, CJS, CRS, EZS, minors by and
through their guardian ad litem,

Tara Garlick

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

TARA GARLICK; MLS, CJS, CRS, EZS,
minors by and through their guardian ad
litem, TARA GARLICK, individually and
as the Successors in Interest of DAVID
SAL SILVA, Deceased,

Plaintiffs,

VS.

COUNTY OF KERN, KERN COUNTY
SHERIFF’S DEPARTMENT, SHERIFF
DONNY YOUNGBLOOD, SGT.
DOUGLAS SWORD, DEPUTY RYAN
GREER, DEPUTY TANNER MILLER,
DEPUTY JEFFREY KELLY, DEPUTY
LUIS ALMANZA, DEPUTY BRIAN
BROCK, DEPUTY DAVID STEPHENS
and DOES 1 to 100, inclusive,
Defendants.

 

Case No.

COMPLAINT FOR:

(1) Violation of 4th and 14th
Amendments.

(2) Violation of 14th Amendment
Substantive Due Process.

(3) Conspiracy Under Federal Law.

DEMAND FOR JURY TRIAL

 

 

 

COMPLAINT; DEMAND FOR JURY TRIAL - 1

 
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Plaintiffs TARA GARLICK and minors MLS, CJS, CRS, AND EZS, acting by and
through their guardian ad litem, TARA GARLICK, allege individually and as Successors in

Interest of David Sal Silva, Deceased, as follows:

JURISDICTION AND VENUE

1. This Complaint is asserted by Plaintiffs TARA GARLICK and minors MLS,
CJS, CRS, and ELS, acting by and through their guardian ad litem, TARA GARLICK

(“Plaintiffs”), individually and as successors in interest to David Sal Silva (“Decedent”)

for compensation:

(a)

(b)

(c)

in their capacity Decedent’s successors in interest, for the violation by
Defendants of Decedent’s rights secured by the Fourth and Fourteenth
Amendments to the United States Constitution to be secure in his
person and to be free from the excessive use of force, pursuant to

42 U.S.C. §§ 1983, 1988;

in their individual capacity, for the violation by Defendants of
Plaintiffs’ own substantive due process rights under the Fourteenth
Amendment to the United States Constitution to a familial
relationship and companionship with Decedent, by using excessive
force against Decedent, resulting in the death of Decedent and the
termination of said relationship, pursuant to 42 U.S.C. § 1983; and
both in their individual capacity and in their capacity as one of
Decedent’s successors in interest, for Conspiracy to Violate Civil

Rights under Federal law, pursuant to 42 U.S.C. §§ 1983, 1988.

This Court has jurisdiction over Plaintiffs’ Federal Civil Rights claims under 42 U.S.C.
§ 1983 pursuant to 28 U.S.C. §§ 1331, 1343.

 

COMPLAINTS DEMAND FOR JURY TRIAL - 2

 
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2. Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b) because:

(1) a substantial part of the events or omissions giving rise to the claim occurred in this
judicial district; and (2) Defendants reside within this judicial district.
PARTIES AND OTHER RELEVANT ACTORS

3. At the time of the Decedent’s death, and at all relevant times herein,
Plaintiffs MLS, CJS, CRS, and EZS are the Decedent’s minor children. Furthermore, at
the time of the Decedent’s death, and at all relevant times herein Plaintiff TARA
GARLICK was/is Decedent’s life partner and received support and services from
Decedent.

4. A Petition to appoint TARA GARLICK as Guardian Ad Litem for Plaintiffs
MLS, CJS, CRS, AND EZS is filed concurrently with this Complaint.

5. Plaintiffs are successors in interest of Decedent pursuant to 42 U.S.C.

§§ 1983, 1988.

6. Defendant COUNTY OF KERN is, and at all times mentioned herein was, a
political subdivision of the State of California.

7. Defendant KERN COUNTY SHERIFF’S DEPARTMENT is, and at all
times mentioned herein was, a law enforcement agency organized and existing under the
Municipal Code and Charter of the County of Kern and the laws of the State of
California.

8. Defendant DONNY YOUNGBLOOD is, and at all times mentioned herein
was, employed by Defendant COUNTY OF KERN as the Sheriff of the Defendant
KERN COUNTY SHERIFF’S DEPARTMENT and was acting within the course and
scope of his employment and under color of law.

9. Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER
MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID
STEPHENS, are, and at all times mentioned herein were, Sheriff's Deputies, officers,

agents and/or employees of the Defendants COUNTY OF KERN and KERN COUNTY

 

COMPLAINT ; DEMAND FOR JURY TRIAL - 3

 
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SHERIFF’S DEPARTMENT, and were acting within the course and scope of said
employment and under color of law.

10. Plaintiffs are unaware of the true names and capacities of the Defendants
sued herein as Does 1 through 100, inclusive, and therefore sue these Defendants by such
fictitious names. Plaintiffs will amend this Complaint to allege the true names and
capacities when ascertained. Plaintiffs are informed and believe and on that basis allege
that each of the fictitiously named Defendants is liable in the manner set forth below for
the acts, conduct and/or omissions concerning the events and happenings herein referred
to, which proximately caused the damages and injuries to Plaintiffs as alleged herein.

11. Plaintiffs are informed and believe and on that basis allege that at all times
and places mentioned herein each Defendant was the agent, representative and/or
employee of each of the remaining Defendants and was acting within the course and
scope of said agency, representation and/or employment.

12. In performing and engaging in the acts alleged herein, each Defendant was
acting under color of law, to wit, under the statutes of the State of California and the
ordinances, regulations, customs, and practices of Defendant KERN COUNTY
SHERIFF’S DEPARTMENT.

FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

13. On May 7, 2013 a Sheriff's Deputy reported to a scene where a man was
asleep on a front lawn. Upon arrival the Sheriff's deputy proceeded to knuckle-rub the
sleeping man causing the man to wake up in a panic. Immediately thereafter, this
Sheriff’s deputy, along with five other Sheriff's deputies and a Sergeant proceeded to
strike this man with batons several times all over his body, while the man screamed in
pain and repeatedly begged the officers to stop. At about this same time, a K-9 dog
belonging to one of the Sheriff's deputies attacked the man. Eventually, the officers hog-
tied the man. After the repeated beating by the Sheriff's deputies and biting by a

 

COMPLAINTS DEMAND FOR JURY TRIAL - 4

 
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deputy’s K-9 dog, the man eventually stopped breathing. Nonetheless, the Sheriffs
deputies failed to immediately transport the man to a hospital despite the man’s apparent
inability to breathe. Finally, after a significant delay the man was taken to Kern Medical
Center, where he was pronounced dead at 12:44 a.m. on May 8, 2013.

As aresult, Plaintiffs contend that decedent died as a result of the unreasonable and
excessive force used by the six Sheriff's Deputies and Sergeant. The names of the
Sheriff's Deputies involved in the beating are: DEPUTIES RYAN GREER, TANNER
MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID
STEPHENS. The name of the Sergeant involved in the beating is SGT. DOUGLAS
SWORD. Plaintiffs further contend that the Sheriff's Deputies and the Sergeant, whose
names are known to the KERN COUNTY SHERIFF'S OFFICE and the COUNTY OF
KERN, were acting in the course and scope of their employment with the COUNTY OF
KERN at the time that excessive force was used. Moreover, Plaintiffs contend that the
Sheriff's Deputies and Sergeant personally witnessed, perceived, and were aware of such

conduct at the time that it occurred, and:

(a) Assaulted, battered, struck, kicked, punched, and/or kneed, and used
excessive, and/or deadly force upon Decedent without adequate cause,
reason or justification;

(b) Knowingly, willfully, and/or intentionally failed and refused

to intervene or make any effort to stop or prevent other such members,
employees and/or agents from assaulting, battering, striking, kicking,
punching, and/or kneeing Decedent;

(c) Knowingly, willfully, and/or intentionally failed and refused

to timely and properly report the wrongful conduct of other such members,

employees and/or agents; and

 

COMPLAINTS DEMAND FOR JURY TRIAL - 5

 
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(d) Knowingly, willfully and/or intentionally aided, abetted and entered into
a conspiracy to assault, batter and inflict emotional distress on Decedent, as
well as conceal and "cover-up" the wrongful conduct of other such
members, employees and/or agents.

14. Asa direct, proximate, and legal result of the actions of Defendants and each of
them, Decedent: (i) suffered blunt force trauma; (ii) transported after a significant delay to
Kern Medical Center; (iii) and pronounced dead at approximately 12:44 a.m. on May 8,
2013 as a direct, proximate, and legal result of said blunt force trauma.

15. Defendants, and each of them, owed a duty to Plaintiffs and to Decedent to
avoid causing, without adequate cause, justification or provocation: (a) Decedent to be
subjected to being placed in fear of physical touching; (b) Decedent to be subjected to
physical attacks upon his person; (c) Decedent’s death; and (d) Plaintiffs to lose their
familial relationship with, and the love, society, affection, companionship, contributions
and support of, Decedent.

16. Defendants, and each of them, breached their duty to Plaintiffs and to
Decedent by negligently, carelessly, recklessly and/or intentionally causing: (a) Decedent
to be subjected to being placed in fear of physical touching; (b) Decedent to be subjected
to physical attacks upon his person; (c) Decedent’s death; and (d) Plaintiffs to lose their
familial relationship with, and the love, society, affection, companionship, contributions
and support of, Decedent. Decedent was improperly and unreasonably put in fear of
physical touching, touched, assaulted and battered, and killed by Defendants SGT.
DOUGLAS SWORD, RYAN GREER, TANNER MILLER, JEFFREY KELLY, LUIS
ALMANZA, BRIAN BROCK, and DAVID STEPHENS, and/or DOES 1 to 50, who at
that time were Deputies, employees, agents and/or under the supervision and control of
Defendant COUNTY OF KERN, Defendant KERN COUNTY SHERIFF’S
DEPARTMENT, Defendant SHERIFF DONNY YOUNGBLOOD, and Defendant Does
51-100.

 

COMPLAINT DEMAND FOR JURY TRIAL - 6

 
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17. Inso doing the aforementioned, Defendants, and each of them, pursued an
outrageous course of conduct, intentionally and/or recklessly, proximately causing:

(a) Decedent to be subjected to being placed in fear of physical touching; (b) Decedent to
be subjected to physical attacks upon his person; (c) Decedent’s death; and (d) Plaintiffs
to lose their relationship with, and the love, society, affection, companionship,
contributions and support of, Decedent.

18. Atall times mentioned herein, it was foreseeable to Defendants, and each of
them, that as a direct, proximate and legal result of their conduct, as alleged herein,
Plaintiffs would be caused to suffer: (a) the loss of their familial relationship with
Decedent; (b) the loss of Decedent’s love, society, affection, companionship,
contributions and support; and (c) severe emotional distress, shock and other highly
unpleasant emotions.

19. Plaintiffs are informed and believe, and upon such information and belief,
allege that Defendants, and each of them, acted negligently and carelessly and that they
failed to properly direct, control, maintain and supervise the duties and activities of their
Sheriffs Deputies, officers, agents and/or employees to prevent assaults, unwanted
touching, harassment and physical attacks on persons without cause or provocation.

20. Defendants, and each of them, and/or their officers, employees and/or
agents, did negligently, carelessly, recklessly and/or intentionally conduct themselves so
as to cause Decedent to suffer an unwanted touching thereby directly and proximately
causing: (a) Decedent’s physical injuries and emotional distress as alleged herein; (b)
Decedent’s death; (c) Plaintiffs’ loss of their familial relationship with Decedent; and (d)
Plaintiffs’ loss of Decedent’s love society, affection, companionship, contributions and
support.

21. Defendants, and each of them, and/or their agents and/or employees, used
threats, force, unwanted touching and violence upon Decedent and on and about his body

in a willful, malicious, reckless, negligent and unlawful manner and without just cause or

 

COMPLAINTS DEMAND FOR JURY TRIAL - 7

 
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provocation and with the intent to do bodily harm and/or with the conscious disregard of
the consequences to Plaintiffs and Decedent, thereby causing: (a) Decedent to be
subjected to being placed in fear of physical touching; (b) Decedent to be subjected to
physical attacks upon his person; (c) Decedent’s death; and (d) Plaintiffs to lose their
familial relationship with, and the love, society, affection, companionship, contributions
and support of, Decedent.

22. Plaintiffs are informed and believe, and upon such information and belief
allege that Defendants, and each of them, are responsible for implementing, maintaining,
sanctioning and/or condoning a policy, custom or practice under which the Sheriff's
deputies, and the Defendants’ agents, officers and/or their employees, committed the
aforementioned illegal or wrongful acts. Plaintiffs are informed and believe that the
conduct of said Deputies, officers, agents and/or employees of Defendant KERN
COUNTY SHERIFF’S DEPARTMENT is/was consistent with the training and the
policies set forth by the Defendant COUNTY OF KERN, DEFENDANT KERN
COUNTY SHERIFF’S DEPARTMENT, Defendant SHERIFF DONNY
YOUNGBLOOD and Defendant Does 51-100, inclusive, and/or that such conduct of
excessive force assaults and unwanted touching is/was ratified by Defendant SHERIFF
DONNY YOUNGBLOOD, Defendant KERN COUNTY SHERIFF’S DEPARTMENT,
Defendant COUNTY OF KERN and Defendant Does 51-100, inclusive.

23. Each of the Defendants is responsible for implementing, maintaining,
sanctioning and/or condoning a policy, custom or practice under which the Defendants’
agents, officers and/or their employees and other Defendants committed the
aforementioned illegal or wrongful acts. Defendants, and each of them, maintained or
permitted an official policy or custom of knowingly permitting the occurrence of the type
of wrong set forth above, and based upon the principles set forth herein.

24. Plaintiffs allege that all of the above was done consciously, deliberately and

in defiance of the laws of the United States and the State of California. All of the

 

COMPLAINT 5 DEMAND FOR JURY TRIAL - 8

 
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Defendant participants were acting under color of law at the time they obstructed justice
and denied Plaintiffs’ due process.

25. Each of the Defendants is responsible for implementing, maintaining,
sanctioning and/or condoning a policy, custom or practice under which the deputies and
other Defendants committed the aforementioned illegal or wrongful acts. Defendants,
and each of them, maintained or permitted an official policy or custom of knowingly
permitting the occurrence of the type of wrong set forth above, and based upon the
principles set forth herein.

26. The negligence and other wrongful conduct on the part of Defendants, and
each of them, is not limited to those negligent/intentional acts or omissions on the part of
the known and unknown public employees involved in the assaulting, and battering, but
also includes the negligent hiring, retaining, appointing, selecting, training, disciplining
and/or supervising of Defendants’ Deputies, officers, employees and/or agents. The
foregoing acts and omissions on the part of Defendants, and each of them, were the
direct, proximate and legal cause of the damages sustained by Plaintiffs and Decedent.

27. Asadirect, proximate and legal result of the aforementioned conduct of
Defendants, and each of them, Plaintiffs have been obliged to expend or incur liability for
cost of suit and related expenses, set amount not yet fully ascertained, but which will be
submitted at the time of trial.

28. Asa further direct, proximate and legal result of the aforementioned conduct
of Defendants, and each of them, Plaintiffs have suffered general and special damages in
an amount according to proof at the time of trial.

29. To Plaintiffs’ current knowledge, the public employees responsible for
Plaintiffs’ injuries include, but are not limited to, SGT. DOUGLAS SWORD, RYAN
GREER, TANNER MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK,
and DAVID STEPHENS. The names and identities of all public employees responsible

for Plaintiffs’ injuries are unknown to Plaintiffs at this time.

 

COMPLAINT; DEMAND FOR JURY TRIAL - 9

 
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30. Asa direct, proximate and legal result of the aforementioned conduct of
Defendants, and each of them, Plaintiffs have incurred funeral and burial expenses for
Decedent, David Sal Silva. Plaintiffs have suffered the loss of their father, David Sal Silva,
and his love society, affection, companionship, contributions and support.

31. Asadirect, proximate, and legal result of the actions of Defendants alleged
above, Decedent: (a) suffered blunt force trauma; (b) transported after a significant delay to
Kern Medical Center; and (c) pronounced dead at approximately 12:44 a.m. on May 8, 2013
as a result of said trauma.

FIRST CAUSE OF ACTION
[Violation of 42 U.S.C. 1983: Denial of Rights Under the United States Constitution,
Use of Excessive Force In Violation Of The Fourth And Fourteenth Amendments.
Against Defendants County Of Kern, Kern County Sheriff’s Department, Sheriff
Donny Youngblood, Sgt. Douglas Sword, Ryan Greer, Tanner Miller, Jeffrey Kelly,
Luis Almanza, Brian Brock, David Stephens, and DOES 1 to 100, inclusive.]

32. Plaintiffs reallege and incorporate by reference paragraphs | through 31,
inclusive, as though fully set forth herein.

33. Plaintiffs assert this First Cause of Action for the violation by Defendants of
Decedent’s rights secured by the Fourth and Fourteenth Amendments to the United States
Constitution pursuant 42 U.S.C. §§ 1983, 1988.

34. Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER
MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID
STEPHENS, and/or DOES 1 to 50, while acting within the course and scope of their
authority and under color of law, used excessive and objectively unreasonable threats of
force, force and violence against Decedent.

35. Jn addition and/or in the alternative to the allegations of paragraph 34 above,
Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER MILLER, JEFFREY
KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID STEPHENS, and/or DOES 1

 

COMPLAINT; DEMAND FOR JURY TRIAL - 10

 
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to 50, while acting within the course and scope of their authority and under color of law,
and in performing the acts alleged above, acted with deliberate indifference, as explained
in, e.g., Redman v. County of San Diego, 942 F.2d 1435, 1443 (9th Cir.1991), cert.
denied, 112 S.Ct. 972 (1992), to Decedent’s right to be free from punishment.

 

36. In addition and/or in the alternative to the allegations of paragraphs 34 and
35, above, Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER MILLER,
JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID STEPHENS,
and/or DOES 1 to 50, while acting within the course and scope of their authority and
under color of law, used excessive threats of force, force and violence that amounted to
punishment, as explained in, e.g., Graham v. Connor, 490 U.S. 386, 395 n.10, 109 S.Ct.
1865, 1871 n.10, 104 L.Ed.2d 443 (1989), against and upon the Decedent in a willful,
malicious, and unlawful manner and without cause, provocation or legal justification
thereby causing severe personal injuries to Decedent.

38. Plaintiffs allege, on information and belief, that Defendant SHERIFF
DONNY YOUNGBLOOD and other unknown officers and supervising personnel, sued
herein as DOES 51 through 100, inclusive, knew that Defendants SGT. DOUGLAS
SWORD, RYAN GREER, TANNER MILLER, JEFFREY KELLY, LUIS ALMANZA,
BRIAN BROCK, and DAVID STEPHENS, and/or DOES 1 to 50, inclusive, had placed
Decedent in a dangerous situation; each had the authority and responsibility to order the
involved officers to cease their unlawful activities, but each failed and refused to prevent
or stop said officers from assaulting and battering the Deceased.

39. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and Does 51 through 100,
inclusive, are responsible for implementing, maintaining, sanctioning and/or condoning
policies, customs and/or practices with the respect to the use of force by officers

employed and under the supervision of said Defendants.

 

COMPLAINT, DEMAND FOR JURY TRIAL - 11

 
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40. Plaintiffs are informed, believe and therefore allege that the above-alleged
conduct of Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER MILLER,
JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID STEPHENS,
and/or DOES 1 to 50, was consistent with the polices, customs and practices set forth by
Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S DEPARTMENT,
SHERIFF DONNY YOUNGBLOOD, and DOES 51-100, inclusive, regarding the use of
force, and that the use of force by Defendants SGT. DOUGLAS SWORD, RYAN
GREER, TANNER MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK,
and DAVID STEPHENS, and/or DOES | to 50 was ratified by Defendants COUNTY OF
KERN, KERN COUNTY SHERIFF’S DEPARTMENT, SHERIFF DONNY
YOUNGBLOOD, and DOES 51 through 100, inclusive and each of them.

41. Plaintiffs are informed, believe and therefore allege that at all relevant times,
Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S DEPARTMENT,
SHERIFF DONNY YOUNGBLOOD, and DOES 51-100, inclusive, and each of them,
knew or should have known that Defendants’ customs, practices, policies regarding the
use of force were so inadequate that it was obvious that a failure to correct them would
result in future incidents of excessive force by their subordinates, officers, employees
and/or agents. Said Defendants, and each of them, knew or should have known that acts
and/or omissions similar to those complained of herein were likely to occur.

42. Atall relevant times, Defendants COUNTY OF KERN, KERN COUNTY
SHERIFF’S DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100,
inclusive, authorized and/or acquiesced in the aforementioned customs, practices, policies
and the commission of the type of acts by its officers similar to those which are alleged
herein to have caused the injuries to Decedent. Furthermore, said Defendants were
deliberately indifferent to the probability of the occurrence of such acts and failed to
correct said customs, practices and policies, thereby causing excessive force to be applied

to Decedent.

 

COMPLAINT DEMAND FOR JURY TRIAL - 12

 
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43. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100 and each of
them, maintained or permitted an official policy, custom or practice of knowingly
permitting the occurrence of the type of wrongs set forth above and, based upon the
principles set forth in Monell v. New York City Department of Social Services, 436 U.S.
658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978) and City of Canton, Ohio v. Harris, 489 U.S.
378, 109 S.Ct. 1197, 103 L-Ed.2d 412 (1989), are liable for all injuries sustained by

 

Decedent as set forth herein.

44. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100 and each of
them, were objectively deliberately indifferent, as elucidated in, e.g., Farmer v. Brennan,
511 US. 825, 841, 114 S.Ct. 1970, 1981, 128 L.Ed.2d 811 (1994), City of Canton, Ohio
v. Harris, 489 U.S. 378, 396, 109 S.Ct. 1197, 1208, 103 L.Ed.2d 412 (1989) (O'Connor,
J., concurring in part, dissenting in part), and Gibson v. County of Washoe, 290 F.3d
1175, 1198 n.1 (9th Cir. 2002), cert. denied, 537 U.S. 1106, 123 S.Ct. 872, 154 L.Ed.2d
775 (2003), to the practice of members, employees and/or agents of Defendant KERN
COUNTY SHERIFF’S DEPARTMENT using excessive and unreasonable threat of
force, force and violence against and upon detainees in a willful, malicious, and unlawful
manner and without cause, provocation or legal justification, and with the intent to do
great bodily harm to such pretrial detainees.

45. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100 and each of
them, had actual and/or constructive knowledge, as explained in, e.g., Farmer v. Brennan,
511 US. 825, 841, 114 S.Ct. 1970, 1981, 128 L.Ed.2d 811 (1994), City of Canton, Ohio
vy. Harris, 489 U.S. 378, 396, 109 S.Ct. 1197, 1208, 103 L.Ed.2d 412 (1989) (O'Connor,
J., concurring in part, dissenting in part), and Gibson v. County of Washoe, 290 F.3d
1175, 1186 (9th Cir. 2002), cert. denied, 537 U.S. 1106, 123 S.Ct. 872, 154 L.Ed.2d 775

 

 

COMPLAINT, DEMAND FOR JURY TRIAL - 13

 
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(2003), that it was the practice of members, employees and/or agents of Defendant
KERN COUNTY SHERIFF’S DEPARTMENT to use excessive and unreasonable
threats of force, force and violence against and upon detainees in a willful, malicious, and
unlawful manner and without cause, provocation or legal justification, and with the intent
to do great bodily harm to such detainees.

46. By reason of the Defendants’ conduct, as alleged herein, Decedent was
deprived, under color of law, of rights, privileges, immunities, and substantive and
procedural due process, as guaranteed by the Fourth and Fourteenth Amendments to the
United States Constitution to be secure in person and not to be subjected to the use of
unwarranted, unjustified and excessive force. Plaintiffs, as one of Decedent’s successors
in interest, is therefore entitled to recover damages pursuant to 42 U.S.C. § 1983.

47. The above described policies, customs and practices of Defendants
COUNTY OF KERN, KERN COUNTY SHERIFF’S DEPARTMENT, SHERIFF
DONNY YOUNGBLOOD, and DOES 51-100, inclusive, demonstrate a deliberate
indifference on the part of policymakers of the COUNTY OF KERN to the constitutional
rights of persons within the County, including Plaintiffs and Decedent, and were the
cause of the violations of Plaintiffs’ and Decedent’s rights alleged herein.

48. Asa direct and proximate result of the acts of Defendants, Decedent
suffered, and thus Plaintiffs seek to recover, general and special damages, including but
not limited to the loss of liberty, medical expenses, lost earnings, and loss of earning
capacity, as well as, for the reasons enunciated in, e.g., Garcia v. Whitehead, 961 F.Supp.
230, 232-33 (C.D. Cal. 1997), Williams v. City of Oakland, 915 F.Supp. 1074, 1079-80
(N.D. Cal. 1996, in an amount according to proof at trial.

49. The aforementioned conduct of the individual Defendants, was done
maliciously, oppressively and with an intent to injure Decedent and in conscious

disregard for the rights and safety of Decedent, such that an award of exemplary and

 

COMPLAINTS DEMAND FOR JURY TRIAL - 14

 
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punitive damages should be imposed against said individual Defendants in an amount to

be proven at trial.

SECOND CAUSE OF ACTION
[Violation of 42 U.S.C. 1983: Denial of Rights under the United States Constitution,
Substantive Due Process Under the Fourteenth Amendment, Against Defendants
County Of Kern, Kern County Sheriff’s Department, Sheriff Donny Youngblood,
Sgt. Douglas Sword, Ryan Greer, Tanner Miller, Jeffrey Kelly, Luis Almanza, Brian
Brock, David Stephens, and DOES 1 to 100, inclusive.]

50. Plaintiffs reallege and incorporate by reference paragraphs | through 49,
inclusive, as though fully set forth herein.

51. Plaintiffs assert this Second Cause of Action for the violation by Defendants
of their own rights under the Fourteenth Amendment to the United States Constitution to
a familial relationship and companionship with Decedent pursuant to 42 U.S.C. § 1983,
in his individual capacity.

52. In engaging in the actions alleged above, Defendants SGT. DOUGLAS
SWORD, RYAN GREER, TANNER MILLER, JEFFREY KELLY, LUIS ALMANZA,
BRIAN BROCK, and DAVID STEPHENS, and/or DOES 1 to 50 were deliberately
indifferent to, or acted with reckless disregard of, as explained in, e.g., Byrd v. Guess, 137
F.3d 1126, 1134 (9th Cir. 1998), cert. denied, 525 U.S. 963, 119 S.Ct. 405, 142 L.Ed.2d 329
(1998), and Smoot v. City of Placentia, 950 F.Supp. 282, 283 (C.D. Cal. 1997), Plaintiffs’
rights under the Fourteenth Amendment to the United States Constitution to a familial
relationship and companionship with Decedent by unlawfully using excessive and
cumulatively deadly force against the Deceased, resulting in the death of Decedent and the
termination of said relationship.

53. In addition and/or in the alternative to the allegations of paragraph 52 above,

Plaintiffs are informed, believe and therefore allege that, in performing the actions alleged

 

COMPLAINT ; DEMAND FOR JURY TRIAL - 15

 
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above, Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER MILLER,
JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID STEPHENS, and/or
DOES 1 to 50 acted with a purpose, as explained in, e.g., County of Sacramento v. Lewis,
523 U.S. 833, 118 S.Ct. 1708, 1711-12 (1998), and Moreland v. Las Vegas Metropolitan
Police Dept., 159 F.3d 365, 372-73 (9th Cir. 1998), to cause harm unrelated to legitimate use
of force necessary to protect the public and themselves.

54. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100 and each of
them, were objectively deliberately indifferent, as explained in, e.g., Farmer v. Brennan, 511
U.S. 825, 841, 114 S.Ct. 1970, 1981, 128 L.Ed.2d 811 (1994), City of Canton, Ohio v.
Harris, 489 U.S. 378, 396, 109 S.Ct. 1197, 1208, 103 L.Ed.2d 412 (1989) (O'Connor, J.,
concurring in part, dissenting in part), and Gibson v. County of Washoe, 290 F.3d 1175,
1198 n.1 (9th Cir. 2002), cert. denied, 537 U.S. 1106, 123 S.Ct. 872, 154 L.Ed.2d 775
(2003), to the practice of members, employees and/or agents of Defendant KERN COUNTY
SHERIFF’S DEPARTMENT of depriving the family members of detainees of their
substantive due process rights under the Fourteenth Amendment to a familial relationship
with said detainees by unlawfully using excessive and/or deadly force against said detainees,
resulting in injury to, and/or the death of, such detainees, and the subsequent substantial
impairment and/or termination of said familial relationships.

55. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51-100 and each of
them, had actual and/or constructive knowledge, as elucidated in, e.g., Farmer v. Brennan,
511 U.S. 825, 841, 114 S.Ct. 1970, 1981, 128 L.Ed.2d 811 (1994), City of Canton, Ohio v.
Harris, 489 U.S. 378, 396, 109 S.Ct. 1197, 1208, 103 L.Ed.2d 412 (1989) (O'Connor, J.,
concurring in part, dissenting in part), and Gibson v. County of Washoe, 290 F.3d 1175,
1186 (9th Cir. 2002), cert. denied, 537 U.S. 1106, 123 S.Ct. 872, 154 L.Ed.2d 775 (2003),
that it was the practice of members, employees and/or agents of Defendant KERN COUNTY

 

COMPLAINTS DEMAND FOR JURY TRIAL - 16

 
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SHERIFF’S DEPARTMENT to deprive the family members of detainees of their
substantive due process rights under the Fourteenth Amendment to a familial relationship
with said detainees by unlawfully using excessive and/or deadly force against said detainees,
resulting in injury to, and/or the death of, such detainees, and the subsequent substantial
impairment and/or termination of said familial relationships.

56. Asadirect and proximate result of the wrongful acts and omissions of
Defendants and each of them, as alleged hereinabove, defendants have deprived Plaintiffs
of the life of his father, and of his love, comfort, affection, society and support, all to their
general damage in an amount to be established at the time of trial.

57. Asa direct and proximate cause of the above referenced conduct of
Defendants, and each of them, Plaintiffs have suffered damages as alleged herein.

58. The aforementioned conduct of the individual Defendants was done
maliciously, oppressively and with an intent to deprive Plaintiffs of their right to a
familial relationship with the Decedent, such that an award of exemplary and punitive
damages should be imposed against said individual Defendants in an amount to be

proven at trial.

THIRD CAUSE OF ACTION
[Conspiracy To Violate Civil Rights In Violation Of 42 U.S.C. 1983. Against
Defendants County Of Kern, Kern County Sheriff’s Department, Sheriff Donny
Youngblood, Sgt. Douglas Sword, Ryan Greer, Tanner Miller, Jeffrey Kelly, Luis
Almanza, Brian Brock, David Stephens and DOES 1 to 100, inclusive.]
59. Plaintiffs reallege and incorporate by reference paragraphs | through 58,
inclusive, as though fully set forth herein.
60. Plaintiffs assert this Third Cause of Action for Conspiracy To Violate Civil
Rights In Violation Of 42 U.S.C. 1983 both in their individual capacity and in their
capacity as Decedent’s successors in interest, pursuant to 42 U.S.C. §§ 1983, 1988.

 

COMPLAINT, DEMAND FOR JURY TRIAL - 17

 
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61. Defendants SGT. DOUGLAS SWORD, RYAN GREER, TANNER
MILLER, JEFFREY KELLY, LUIS ALMANZA, BRIAN BROCK, and DAVID
STEPHENS, and DOES 1 to 50 entered into a civil conspiracy and agreement, within the
meaning of, e.g., Mendocino Environmental Center v. Mendocino County, 192 F.3d
1283, 1301-1302 (9th Cir. 1999), and Hampton v. Hanrahan, 600 F.2d 600, 620-21 &
n.19 (7th Cir. 1979), overruled on other grounds, 446 U.S. 754 (1979), to violate the civil
rights of: (a) Decedent, by assaulting, battering, kicking, punching and using excessive,
and ultimately deadly, force upon Decedent without cause, reason or justification; and
(b) Plaintiffs, by depriving Plaintiffs of their familial relationship with, and the love,
society, affection, companionship, contributions and support of, Decedent by harming,
injuring and ultimately killing Decedent. In addition to the conduct alleged above, said
conspiracy and agreement is evidenced by the fact, inter alia, that said Defendants aided,
abetted, approved, ratified and/or deliberately and knowingly failed, refused and/or
refrained from intervening in or stopping the assault and battery upon Decedent, and/or
deliberately and knowingly failed, refused and/or refrained from promptly and accurately
reporting the incident to their superiors and/or other appropriate authorities.

62. Defendants COUNTY OF KERN, KERN COUNTY SHERIFF’S
DEPARTMENT, SHERIFF DONNY YOUNGBLOOD, and DOES 51 through 100 are
legally responsible for, and indeed proximately and legally caused, the damages alleged
herein for the factual and legal reasons alleged above and incorporated herein by
reference.

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COMPLAINT3 DEMAND FOR JURY TRIAL - 18

 
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ATTORNEYS’ FEES AND COSTS

63. Plaintiffs reallege and incorporate by reference paragraphs | through 62,
inclusive, as though fully set forth herein.

64. Pursuant to the provisions of 42 U.S.C. § 1988, Plaintiffs are entitled to and
demand an award of reasonable attorneys’ fees and costs attendant to prosecuting this action
in an amount to be determined according to proof at trial.

WHEREFORE, Plaintiffs seek damages as follows:

(a) General damages — In an amount to be proven at trial;

(b) Special damages — In an amount to be proven at trial;

(b) Punitive damages — Against the individual Defendants, in an amount to
be proven at trial;

(d) Attorneys’ fees and costs of suit incurred herein; and

(e) For such other and further relief as the Court deems just and proper.

PLAINTIFFS DEMAND A TRIAL BY JURY

Dated: July 8, 2013 RODRIGUEZ & ASSOCIATES

J
By:

fo

DANI GUEZ, ESQ.
Attorneys for Plaintiffs Tara Garlick;
MLS, CJS, CRS, EZS, minors by and

through their guardian ad litem,
Tara Garlick

 

 

COMPLAINTS DEMAND FOR JURY TRIAL - 19

 
